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                                                                    1 Jeffrey I. Golden, State Bar No. 133040
                                                                      jgolden@wgllp.com
                                                                    2 Beth E. Gaschen, State Bar No. 245894
                                                                      bgaschen@wgllp.com
                                                                    3 WEILAND GOLDEN GOODRICH LLP
                                                                      650 Town Center Drive, Suite 950
                                                                    4 Costa Mesa, California 92626
                                                                      Telephone 714-966-1000
                                                                    5 Facsimile      714-966-1002

                                                                    6 Proposed Attorneys for
                                                                      Debtors and Debtors-in-Possession
                                                                    7

                                                                    8                        UNITED STATES BANKRUPTCY COURT

                                                                    9                         CENTRAL DISTRICT OF CALIFORNIA

                                                                   10                                 SANTA ANA DIVISION

                                                                   11 In re                                      Case No. 8:18-bk-10969-SC and 8:18-bk-
                                                                                                                 10972-SC
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                                                Fax 714-966-1002




                                                                   12 LUMINANCE RECOVERY CENTER, LLC,
                               650 Town Center Drive, Suite 950
                                  Costa Mesa, California 92626




                                                                      a California limited liability company, et al., Chapter 11
                                                                   13
                                                                                             Debtors and              NOTICE OF EX PARTE MOTION AND EX
                                                                   14                        Debtors-in-Possession.   PARTE MOTION FOR JOINT
                                                                                                                      ADMINISTRATION PURSUANT TO 11
                              Tel 714-966-1000




                                                                   15 Affects:                                        U.S.C. § 105(a), FEDERAL RULE OF
                                                                                                                      BANKRUPTCY PROCEDURE 1015, AND
                                                                   16     All Debtors                                 LOCAL BANKRUPTCY RULE 1015-1;
                                                                                                                      MEMORANDUM OF POINTS AND
                                                                   17     Luminance    Recovery     Center, LLC,      AUTHORITIES; AND DECLARATIONS OF
                                                                      ONLY                                            ANTHONY ARNAUDY AND BETH E.
                                                                   18                                                 GASCHEN FILED IN SUPPORT THEREOF
                                                                          Luminance Health Group, Inc., a
                                                                   19 California corporation, ONLY                    [No Hearing Required Pursuant to Local
                                                                                                                      Bankruptcy Rules 1051-1 and 9013-1(q)]
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                                                                        1159925.1                                                 EX PARTE MOTION FOR JOINT
                                                                                                                                            ADMINISTRATION
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                                                                    1 TO THE HONORABLE SCOTT C. CLARKSON, UNITED STATE BANKRUPTCY

                                                                    2 JUDGE, THE OFFICE OF THE UNITED STATES TRUSTEE, AND ALL OTHER

                                                                    3 INTERESTED PARTIES:

                                                                    4           PLEASE TAKE NOTICE that Luminance Recovery Center, LLC and Luminance
                                                                    5 Health Group, Inc., the debtors and debtors-in-possession (collectively, the “Debtors”) in

                                                                    6 the above-captioned cases (the “Cases”), hereby move (the “Motion”) ex parte for entry of

                                                                    7 an order authorizing the joint administration of the Cases including: (i) the use of a single

                                                                    8 docket for administrative matters; (ii) combining notices to creditors and parties in interest;

                                                                    9 (iii) scheduling joint hearings; (iv) combining financial reporting; (v) joint and several

                                                                   10 liability for professional fees and costs; and (vi) the joint handling of other administrative

                                                                   11 matters pursuant to section 105(a) of the Bankruptcy Code, Rule 1015 of the Federal
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                                                                   12 Rules of Bankruptcy Procedure (“Bankruptcy Rules”), and Rule 1015-(1)(b) of the Local
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                                  Costa Mesa, California 92626




                                                                   13 Bankruptcy Rules (“Local Rules”).

                                                                   14           The Motion is based on this Notice and Motion, the Memorandum of Points and
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                                                                   15 Authorities included herewith, and the attached Declarations of Anthony Arnaudy and

                                                                   16 Beth E. Gaschen.

                                                                   17           PLEASE TAKE FURTHER NOTICE that the Debtors request that this Motion be
                                                                   18 considered on an ex parte basis. The Debtors have determined that the most efficient

                                                                   19 and effective manner in which to administer their respective Cases is to seek an order

                                                                   20 authorizing joint administration. Joint administration of the Cases will allow the Debtors to

                                                                   21 benefit from increased efficiency because they will not be required to review and

                                                                   22 separately respond to similar motions, filings and other pleadings that would otherwise be

                                                                   23 filed in the separate Cases. Joint administration will potentially save the Debtors’ estates

                                                                   24 tens of thousands of dollars in administrative fees and costs, save the Court numerous

                                                                   25 hours in setting and hearing matters, and in reviewing separate sets of virtually identical

                                                                   26 pleadings in the two Cases. As the Debtors are filing multiple first day motions, it is

                                                                   27 essential to seek the relief requested in this Motion on an ex parte basis in order to
                                                                        1159925.1                                     1                  EX PARTE MOTION FOR JOINT
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                                                                    1 accomplish the goal of preserving the time and resources of the Debtors, the Court, and

                                                                    2 other parties in interest, as the alternative would be to file identical pleadings in both

                                                                    3 cases with hearings on each and every motion. Joint administration will also ease the

                                                                    4 burden on the Office of the United States Trustee in supervising the Cases.

                                                                    5           The Debtors do not request substantive consolidation of their Cases at this time.

                                                                    6 Nothing contained in this Motion is intended to compel substantive consolidation of the

                                                                    7 assets of the Debtors’ respective estates. Since the Debtors require only joint

                                                                    8 administration of the Cases, no substantive rights will be prejudiced by the relief

                                                                    9 requested herein, and no conflicts will result therefrom. Accordingly, the Debtors request

                                                                   10 that the Motion be granted.

                                                                   11           Pursuant to Local Rules 1015-1 and 9013-1(q), the Court may grant the Motion
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                                                                   12 without notice or a hearing.
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                                  Costa Mesa, California 92626




                                                                   13

                                                                   14 Dated: March 21, 2018                       WEILAND GOLDEN GOODRICH LLP
                              Tel 714-966-1000




                                                                   15

                                                                   16                                             By: /s/ Beth E. Gaschen
                                                                                                                      JEFFREY I. GOLDEN
                                                                   17                                                 BETH E. GASCHEN
                                                                                                                      Proposed Attorneys for
                                                                   18                                                 Debtors and Debtors-in-Possession

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                                                                    1                       MEMORANDUM OF POINTS AND AUTHORITIES
                                                                    2 I.        STATEMENT OF FACTS
                                                                    3           A.    Jurisdiction and Venue
                                                                    4           This Court has jurisdiction to consider this Motion under 28 U.S.C. §§ 157 and

                                                                    5 1334. This is a core proceeding under 28 U.S.C. § 157(b)(2). The Debtors consent to the

                                                                    6 entry of a final order by the Court in connection with this Motion to the extent it is later

                                                                    7 determined that the Court, absent consent of the parties, cannot enter final orders or

                                                                    8 judgments consistent with Article III of the United States Constitution. Venue of these

                                                                    9 cases and this Motion in this district is proper under 28 U.S.C. §§ 1408 and 1409.

                                                                   10           B.    The Debtors and the Chapter 11 Filings
                                                                   11           On March 19, 2018 (the “Petition Date”), each of the Debtors filed a voluntary
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                                                                   12 petition for relief under chapter 11 of the Bankruptcy Code in the United States
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                                                                   13 Bankruptcy Court for the Central District of California (the “Court”). The Debtors continue

                                                                   14 to operate and manage their affairs as debtors and debtors-in-possession pursuant to
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                                                                   15 sections 1107(a) and 1108 of the Bankruptcy Code. No party has requested the

                                                                   16 appointment of a trustee or examiner and no committee has yet been appointed or

                                                                   17 designated in the Cases.

                                                                   18           Luminance Health Group, Inc. (“LHG”) and Luminance Recovery Center, LLC

                                                                   19 (“LRC”), were founded by Michael Castanon in 2015. The Debtors began operations in

                                                                   20 April 2015. Headquartered in San Juan Capistrano, California, the Debtors were a

                                                                   21 leading substance abuse and dual diagnosis treatment center that provided a continuum

                                                                   22 of care to clients struggling with addiction and co-occurring disorders. The Debtors

                                                                   23 provided treatment to both men and women over the age of 18, with individualized

                                                                   24 treatment plans and dual diagnosis support. Programs included detoxification, residential

                                                                   25 treatment and extended care options, all utilizing a combination of traditional therapeutic

                                                                   26 methods and holistic healing.

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                                                                        1159925.1                                     3                  EX PARTE MOTION FOR JOINT
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                                                                    1           The Debtors began with locations at 1804 Via Sage, San Clemente, California and

                                                                    2 29422 Clipper Way, Laguna Niguel, California (collectively, the “Residences”) and 27126-

                                                                    3 B Paseo Espada, San Juan Capistrano, California (the “Treatment Facility”). Over the

                                                                    4 course of the next three years, the Debtors added an additional eight (8) Residences, the

                                                                    5 last being added in June 2017.

                                                                    6           Despite their success, the Debtors began to suffer some economic hardship in

                                                                    7 2017. In the ordinary course of business and is standard in the industry, the Debtors

                                                                    8 would bill their patients’ insurance company for the services that the Debtors provided to

                                                                    9 the patients. While the Debtors’ gross billing and expenses rose throughout 2016 and

                                                                   10 2017, the cash collection only increased marginally. This was the biggest challenge that

                                                                   11 both the industry and the Debtors’ faced as insurance companies continued to put
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                                                                   12 pressure on reimbursement rates and timing of payments. In 2017, the reimbursement
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                                                                   13 rate on claims realized was approximately 25% of the gross claims versus the 45% for

                                                                   14 2016. There was also an appreciable increase in the medical record requests made by
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                                                                   15 the insurance companies, which added at least 90-120 days to the duration of claim

                                                                   16 collections, and was tying up a large portion of the Debtors’ accounts receivable balance.

                                                                   17           In addition to the problems created by the insurance companies, the Debtors’

                                                                   18 experienced a larger than expected revenue drop at the end of 2017. This meant the

                                                                   19 Debtors had to cover operating losses by borrowing additional funds. The higher debt

                                                                   20 combined with higher accounts payable and more difficulties in collections, led to the

                                                                   21 Debtors’ decision to end their operations. The Debtors ceased operations at the

                                                                   22 Residences and the Treatment Facility in early March 2018. A small amount of staff

                                                                   23 remains to assist in the orderly winding down of the Debtors.

                                                                   24           The goal of these Cases is to recover for the benefit of all creditors approximately

                                                                   25 $5.5-$6 million in net account receivables that remain to be paid to the Debtors by the

                                                                   26 insurance companies. By filing, the Debtors hope to streamline this process, which can

                                                                   27 be labor intensive, especially with the medical record requests, and finalize collections in
                                                                        1159925.1                                      4                 EX PARTE MOTION FOR JOINT
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                                                                   1 the next approximately four to six months. The Debtors knowledge of and experience in

                                                                   2 the industry and its access to the required documentation will allow the Debtors to collect

                                                                   3 the accounts receivable in a more efficient, less costly manner than a third party that is

                                                                   4 unfamiliar with either.

                                                                   5 II.        PROPOSED PROCEDURE FOR JOINT ADMINISTRATION
                                                                   6            The Debtors propose the following procedure for joint administration:

                                                                   7            (1)   The use of a single docket (In re Luminance Recovery Center, LLC, Case

                                                                   8                  No. 8:18-bk-10969-SC) for administrative matters, including the filing,

                                                                   9                  lodging, and docketing of pleadings and orders, and parties in interest shall

                                                                   10                 be directed to use the caption attached hereto as Exhibit “1.” Each pleading

                                                                   11                 or paper filed, however, shall indicate which of the Debtors is affected by or
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                                                                   12                 is a party to the subject filings;
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                                                                   13           (2)   The combining of notices to creditors and parties-in-interest;

                                                                   14           (3)   The joint scheduling of hearings;
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                                                                   15           (4)   The combining of financial reporting by the two Debtors;

                                                                   16           (5)   The joint and several liability of the estates for allowed professional fees and

                                                                   17                 costs and the consolidated billing of professional fees and expenses;

                                                                   18           (6)   The joint handling of other administrative matters; and

                                                                   19           (7)   Notice of the joint administration of the estates will be separately filed and

                                                                   20                 docketed in each of the Cases in substantially the form of the proposed

                                                                   21                 notice attached as Exhibit “2” to the Motion. On all other Court dockets for

                                                                   22                 the related Cases, creditors and parties-in-interest will be directed to

                                                                   23                 Luminance Recovery Center, LLC’s docket to locate all pleadings filed

                                                                   24                 subsequent to the date on which the Court enters an order authorizing the

                                                                   25                 joint administration of the Cases.

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                                                                        1159925.1                                          5             EX PARTE MOTION FOR JOINT
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                                                                    1 III.      JOINT ADMINISTRATION OF THE CASES WOULD YIELD SUBSTANTIAL
                                                                    2           ADMINISTRATIVE BENEFITS
                                                                    3           Bankruptcy Rule 1015(b) provides that joint administration may be appropriate

                                                                    4 when two or more related debtor entities have filed for protection under the Bankruptcy

                                                                    5 Code. Bankruptcy Rule 1015 provides:

                                                                    6                 If a joint petition or two or more petitions are pending in the same
                                                                                      court by or against (1) a husband and wife, or (2) a partnership
                                                                    7                 and one or more of its general partners, or (3) two or more
                                                                                      general partners, or (4) a debtor and an affiliate, the court may
                                                                    8                 order a joint administration of the estates. Prior to entering an
                                                                                      order the court shall give consideration to protecting creditors of
                                                                    9                 different estates against potential conflicts of interest.

                                                                   10 Fed. R. Bankr. Proc. 1015(b). Joint administration is typical when related business

                                                                   11 entities file for chapter 11 bankruptcy relief and seek to employ similar reorganization
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                                                                   12 strategies, and when the success of one entity may depend on success of another. See 9
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                                                                   13 COLLIER ON BANKRUPTCY, ¶ 1015.03 (15th ed. rev. 2008).

                                                                   14           Bankruptcy Rule 1015 promotes the fair and efficient administration of related
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                                                                   15 cases of affiliated debtors, while ensuring that no rights of individual creditors are unduly

                                                                   16 prejudiced. See In re N.S. Garrott & Sons, 63 B.R. 189, 191 (Bankr. E.D. Ark. 1986); In re

                                                                   17 H & S Transportation Co., 55 B.R. 786, 791 (Bankr. M.D. Tenn. 1985). As set forth in the

                                                                   18 official 1983 Advisory Committee Note to Rule 1015:

                                                                   19                 Joint administration as distinguished from consolidation may
                                                                                      include combining the estates by using a single docket for the
                                                                   20                 matters occurring the administration, including the listing of filed
                                                                                      claims, the combining of notices to creditors of the different
                                                                   21                 estates, and the joint handling of other purely administrative
                                                                                      matters that may aid in expediting the cases and rendering the
                                                                   22                 process less costly.

                                                                   23           The Cases present the classic situation for joint administration as numerous cords

                                                                   24 of administrative commonality connect the Debtors, militating in favor of the central

                                                                   25 administration of the Cases. Joint administration will increase the Debtors’ chances of a

                                                                   26 successful reorganization as it will avoid wasting resources that would result through the

                                                                   27 duplication of effort if the Cases were to proceed separately and the same motions and
                                                                        1159925.1                                      6                  EX PARTE MOTION FOR JOINT
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                                                                    1 applications were required to be filed in each Case. It will permit each of the Debtors to

                                                                    2 respond more efficiently to the demands of their creditors and will reduce attorneys’ fees,

                                                                    3 copying costs, mailing costs and other costs of administering the Cases. The Debtors’

                                                                    4 creditors stand to benefit from the increased efficiency of administration anticipated

                                                                    5 through joint administration because creditors will not be required to review duplicative

                                                                    6 motions and other pleadings that would otherwise be filed in the separate cases.

                                                                    7 Moreover, through joint administration of the Cases, this Court and the Bankruptcy Court

                                                                    8 Clerk’s office will be relieved of the burden of having to file and maintain dockets and case

                                                                    9 files for a large number of nearly identical pleadings in the Cases. It will also ease the

                                                                   10 burden of the Office of the United States Trustee in supervising the Cases.

                                                                   11           The Debtors will be jointly and severally liable for all of the administrative
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                                                                   12 professional fees and expenses incurred in the Cases. All fees and costs will be charged
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                                                                   13 to the lead case and only one joint fee application need be filed by any professional.

                                                                   14 Many of the services provided by the professionals will benefit both of the Debtors and it
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                                                                   15 would time-consuming to allocate various services provided by the professionals among

                                                                   16 the Cases.

                                                                   17           The rights of the Debtors’ respective creditors will not be adversely affected by joint

                                                                   18 administration of the Cases. The Debtors do not propose at this point to take any action

                                                                   19 that would constitute substantive consolidation of their estates, but are merely seeking

                                                                   20 authorization for procedural measures that will simplify and facilitate the efficient

                                                                   21 administration of their Cases.

                                                                   22           By reason of the foregoing, joint administration of the Cases is in the best interests

                                                                   23 of all interested parties.

                                                                   24 IV.       NO NOTICE AND NO HEARING IS REQUIRED
                                                                   25           Local Rule 1015-1(b) expressly provides that the Court can order joint

                                                                   26 administration without notice and a hearing:

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                                                                        1159925.1                                       7                  EX PARTE MOTION FOR JOINT
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                                                                    1                 If 2 or more cases are pending before the same judge, an order
                                                                                      of joint administration may be entered, without further notice and
                                                                    2                 an opportunity for hearing, upon the filing of a motion for joint
                                                                                      administration pursuant to FRBP 1015 and LBR 9013-1(q),
                                                                    3                 supported by a declaration establishing that the joint
                                                                                      administration of the cases is warranted, will ease the
                                                                    4                 administrative burden for the court and the parties, and will
                                                                                      protect creditors of the different estates against potential
                                                                    5                 conflicts of interest.

                                                                    6 Accordingly, pursuant to Local Rule 1015-1(b), the Court may order the joint

                                                                    7 administration of the Cases without notice or a hearing.

                                                                    8 V.        CONCLUSION
                                                                    9           The primary goal of a chapter 11 reorganization is to maximize the value of a

                                                                   10 debtor’s estate for the benefit of creditor and equity constituencies. Related to that goal,

                                                                   11 and of significant importance as well, is the efficient administration of the bankruptcy case
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                                                                   12 so that the debtor-in-possession can emerge quickly and begin distributions. Both of
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                                                                   13 these goals will be furthered by permitting the joint administration of the Cases as sought

                                                                   14 in this Motion.
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                                                                   16 Dated: March 21, 2018                       WEILAND GOLDEN GOODRICH LLP

                                                                   17

                                                                   18                                             By: /s/ Beth E. Gaschen
                                                                                                                      JEFFREY I. GOLDEN
                                                                   19                                                 BETH E. GASCHEN
                                                                                                                      Proposed Attorneys for
                                                                   20                                                 Debtors and Debtors-in-Possession

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                                                                        1159925.1                                     8                  EX PARTE MOTION FOR JOINT
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                                                                    1                           DECLARATION OF ANTHONY ARNAUDY
                                                                    2

                                                                    3           I, Anthony Arnaudy, declare as follows:

                                                                    4           1.    I am the Chief Financial Officer (“CFO”) of the debtors and debtors-in-

                                                                    5 possession (the “Debtors”) in the above-captioned chapter 11 cases (the “Cases”). I have

                                                                    6 served as Chief Financial Officer since August, 2017. In my role as CFO, I am

                                                                    7 responsible for: (i) management of the finance, accounting and billing departments; and

                                                                    8 (ii) assisting in raising capital, investor presentations, modeling, cash flow, income, and

                                                                    9 working capital projections; (iii) treasury and cash management (collections); (iv) payroll

                                                                   10 and accounts payable; and (v) general accounting.

                                                                   11           2.    As a result of my tenure with the Debtors, my extensive day to day
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                                                                   12 experience with the financial matters impacting the Debtors’ operations, my review of
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                                                                   13 relevant documents, and my discussions with other members of the Debtors’

                                                                   14 management in the ordinary course of business, I am familiar with the Debtors’ day-to-day
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                                                                   15 operations, business affairs, and books and records. Except as otherwise noted, I have

                                                                   16 personal knowledge of the matters set forth herein and, if called as a witness, could testify

                                                                   17 competently thereto. Except as otherwise stated, all facts set forth in this Declaration are

                                                                   18 based on my personal knowledge, my discussions with other members of the Debtors'

                                                                   19 senior management, my review of relevant documents, or my opinion, based on my

                                                                   20 experience and knowledge of the Debtors’ operations and financial conditions. I am

                                                                   21 submitting this declaration in support of the Ex Parte Motion for Joint Administration

                                                                   22 Pursuant to 11 U.S.C. § 105(a), Federal Rule of Bankruptcy Procedure 1015, and Local

                                                                   23 Bankruptcy Rule 1015-1 (the “Motion”). All terms not defined herein shall have the

                                                                   24 meanings ascribed to them in the Notice and Motion.

                                                                   25           3.    The Debtors are requesting that their Cases be jointly administered for

                                                                   26 procedural purposes. The Debtors seek to have LRC’s case designated the lead case of

                                                                   27 the jointly administered estates.
                                                                        1159925.1                                    9                 EX PARTE MOTION FOR JOINT
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                                                                    1           4.    I believe that the joint administration of the Cases will avoid the unnecessary

                                                                    2 time and expense of duplicative motions, applications, other pleadings, orders, and

                                                                    3 related notices, which would otherwise need to be filed in each separate case absent joint

                                                                    4 administration. It will permit the Debtors to respond more efficiently to the demands of

                                                                    5 their creditors and will reduce attorneys’ fees, copying costs, mailing costs and other costs

                                                                    6 of administering the Cases. In addition, the Debtors’ creditors will not be required to

                                                                    7 review identical motions and other pleadings that would otherwise have to be filed in

                                                                    8 twenty-five separate cases. Moreover, joint administration will relieve this Court of the

                                                                    9 burden of setting and hearing duplicative matters, entering duplicative orders and

                                                                   10 maintaining duplicative files. Joint administration will also ease the burden on the Office

                                                                   11 of the United States Trustee in supervising the Cases, and the Clerk’s office in
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                                                                   12 performance of its duties in the Cases.
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                                                                   13           5.    Numerous cords of administrative commonality connect the Debtors,

                                                                   14 militating in favor of the central administration of the Cases. They collectively operated as
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                                                                   15 a drug and alcohol treatment program and collectively generated the accounts receivables

                                                                   16 that remain to be collected. Joint administration will increase the Debtors’ chances of a

                                                                   17 successful chapter 11 process. Accordingly, I believe that joint administration will save

                                                                   18 considerable time and expense for the Debtors, the Clerk of the Court, the United States

                                                                   19 Trustee, and other parties in interest, which will, in turn, result in substantial savings for

                                                                   20 the Debtors' estates.

                                                                   21           6.   The Debtors will be jointly and severally liable for all of the administrative

                                                                   22 professional fees and expenses incurred in the Cases. All fees and costs will be charged

                                                                   23 to the lead case and only one joint fee application need be filed by any professional.

                                                                   24 Many of the services provided by the professionals will benefit both of the Debtors and it

                                                                   25 would time-consuming to allocate various services provided by the professionals among

                                                                   26 the Cases.

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                                                                        1159925.1                                     10                  EX PARTE MOTION FOR JOINT
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                                                                   1            7.     I do not believe that creditors will be adversely affected by joint

                                                                   2 administration of the Cases. At this time, the Debtors are not proposing to take any action

                                                                   3 that would constitute substantive consolidation of their estates, but only seek authorization

                                                                   4 for procedural measures that will simplify and facilitate the efficient administration of their

                                                                   5 estates.

                                                                   6            I declare under penalty of perjury that the foregoing is true and correct.

                                                                   7            Executed on this 21st day of March, 2018, at _______________, California.

                                                                   8

                                                                   9
                                                                                                                                        Anthony Arnaudy
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                                                                   11
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                                                Fax 714-966-1002




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                               650 Town Center Drive, Suite 950
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                                                                        1159925.1                                      11                  EX PARTE MOTION FOR JOINT
                                                                   28                                                                                ADMINISTRATION
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                                                                    Case 8:18-bk-10969-SC        Doc 6 Filed 03/21/18 Entered 03/21/18 17:40:06              Desc
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                                                                    1                             DECLARATION OF BETH E. GASCHEN
                                                                    2

                                                                    3           I, Beth E. Gaschen, declare as follows:

                                                                    4           1.     I am an attorney at law duly licensed to practice before this Court and the

                                                                    5 Courts of California. I am a partner of the law firm Weiland Golden Goodrich LLP,

                                                                    6 proposed counsel for the debtors and debtors-in-possession in this action. The following

                                                                    7 is within my own personal knowledge, and if called upon as a witness, I could and would

                                                                    8 testify competently with respect thereto. I am submitting this declaration in support of the

                                                                    9 Ex Parte Motion for Joint Administration Pursuant to 11 U.S.C. § 105(a), Federal Rule of

                                                                   10 Bankruptcy Procedure 1015, and Local Bankruptcy Rule 1015-1 (the “Motion”). All terms

                                                                   11 not defined herein shall have the meanings ascribed to them in the Notice and Motion.
Weiland Golden Goodrich LLP
                                                Fax 714-966-1002




                                                                   12           2.     The Debtors propose that all pleadings related to the Cases shall contain a
                               650 Town Center Drive, Suite 950
                                  Costa Mesa, California 92626




                                                                   13 joint caption in substantially the form attached hereto as Exhibit “1,” and that all such

                                                                   14 pleadings shall be filed and maintained under the existing docket of the lead case, In re
                              Tel 714-966-1000




                                                                   15 Luminance Recovery Center, LLC.

                                                                   16           3.     A notice substantially similar to that attached hereto as Exhibit “2” and

                                                                   17 incorporated herein by reference will be sent to all creditors and will be filed in each of the

                                                                   18 Cases.

                                                                   19           I declare under penalty of perjury that the foregoing is true and correct.

                                                                   20           Executed on this 21st day of March, 2018, at Costa Mesa, California.

                                                                   21

                                                                   22                                                                 /s/ Beth E. Gaschen
                                                                                                                                        Beth E. Gaschen
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                                                                        1159925.1                                     12                  EX PARTE MOTION FOR JOINT
                                                                   28                                                                               ADMINISTRATION
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 1 Jeffrey I. Golden, State Bar No. 133040
   jgolden@wgllp.com
 2 Beth E. Gaschen, State Bar No. 245894
   bgaschen@wgllp.com
 3 WEILAND GOLDEN GOODRICH LLP
   650 Town Center Drive, Suite 950
 4 Costa Mesa, California 92626
   Telephone 714-966-1000
 5 Facsimile      714-966-1002

 6 Proposed Attorneys for
   Debtors and Debtors-in-Possession
 7

 8                          UNITED STATES BANKRUPTCY COURT

 9                           CENTRAL DISTRICT OF CALIFORNIA

10                                   SANTA ANA DIVISION

11 In re                                          Case No. 8:18-bk-10969-SC

12 LUMINANCE RECOVERY CENTER, LLC, Chapter 11
   a California limited liability company, et al.,
13                                                 (Jointly Administered with Case No.
                          Debtors and              8:18-bk-10972-SC)
14                        Debtors-in-Possession.
                                                   ***CAPTION***
15 Affects:

16        All Debtors

17     Luminance Recovery Center, LLC,
     ONLY
18
       Luminance Health Group, Inc., a
19 California corporation, ONLY

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     1159943.1                                   1                                  ***CAPTION***

                                                                         EXHIBIT "1", PAGE 13
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                  EXHIBIT “2”
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 Attorney or Party Name, Address, Telephone & FAX                              FOR COURT USE ONLY
 Nos., State Bar No. & Email Address
 Jeffrey I. Golden, State Bar No. 133040
 jgolden@wgllp.com
 Beth E. Gaschen, State Bar No. 245894
 bgaschen@wgllp.com
 WEILAND GOLDEN GOODRICH LLP
 650 Town Center Drive, Suite 950
 Costa Mesa, California 92626
 Telephone: (714) 966-1000
 Facsimile: (714) 966-1002

      Individual appearing without attorney
      Attorney for: Debtors and Debtors-in-Possession

                                        UNITED STATES BANKRUPTCY COURT
                          CENTRAL DISTRICT OF CALIFORNIA - Santa Ana Division                                     DIVISION

 In re: LUMINANCE RECOVERY CENTER, LLC                                         LEAD CASE NO.: 8:18-bk-10969-SC
                                                                               CHAPTER: 11
                                                                Debtor(s)
 ---------------------------------------------------------------------------   JOINTLY ADMINISTERED WITH:
 In re: LUMINANCE HEALTH GROUP, INC.                                           CASE NO.: 8:18-bk-10972-SC
                                                                               CASE NO.:
                                                                               CASE NO.:

                                       Debtor(s)                               CASE NO.:
 _____________________________________________                                 CASE NO.:
                                                                                 See attached for additional Case Numbers


     Affects All Debtors

     Affects                                                                        NOTICE OF JOINT ADMINISTRATION
                                                                                     OF CASES AND REQUIREMENTS
     Affects
                                                                                        FOR FILING DOCUMENTS
     Affects
                                                                                                      [LBR 1015-1]
     Affects

     See attached for additional Debtors

                                                               Debtor(s)                           [No Hearing Required]


TO: THE U.S. TRUSTEE AND ALL PARTIES IN THESE JOINTLY ADMINISTERED CASES: An order was entered on
(date) 03/21/2018     granting a motion to approve joint administration of cases pursuant to FRBP 1015 and LBR 1015-1,
under the lead case indicated in the caption of this notice.
1. Required Caption on Documents – All documents filed must contain a caption in substantially the same format and
   content as the caption of this notice.

2. Debtors Affected by a Filed Document – All documents filed must indicate, by checking appropriate boxes, the
   debtor or debtors affected by the filed document.

               This form is mandatory. It has been approved for use in the United States Bankruptcy Court, Central District of California.

December 2014                                                        Page 1                  F 1015-1.1.NOTICE.JOINT.ADMINISTRATION
                                                                                                                        EXHIBIT "2", PAGE 14
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3. Filing Documents on Main Case Docket – Unless indicated below in paragraph 4, all documents must be filed on
   the docket of the lead case indicated on the caption of this notice.

4. Filing Proof of Claims on Docket of Individual Case – Notwithstanding joint administration of these cases,
   creditors must file their respective proofs of claim as to the specific affected and applicable debtor using the case
   number and claim register for the specific affected and applicable debtor.

5. Parties to File a Request to be Added to Courtesy NEF – To facilitate notice and service of documents via Notice
   of Electronic Filing, all parties who previously electronically filed documents only in cases other than the lead case
   must promptly file in the lead case a Request to be Added to Courtesy Notice of Electronic Filings, using the court-
   approved form.

6. Other:




    Date:                                                                By:
                                                                                   Signature




            This form is mandatory. It has been approved for use in the United States Bankruptcy Court, Central District of California.

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                                                                                                                     EXHIBIT "2", PAGE 15
